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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 KEITH HOBBS, individually and on behalf
 of all others similarly situated,
                                                  Case No.
                        Plaintiff,
      v.                                          CLASS ACTION
 COMMONWEALTH SERVICING
 GROUP, LLC, a Massachusetts limited              DEMAND FOR JURY TRIAL
 liability company, and DMB FINANCIAL,
 LLC, a Massachusetts limited liability
 company,
                        Defendants.


       Plaintiff Keith Hobbs (“Plaintiff” or “Hobbs”) brings this Class Action Complaint and

Demand for Jury Trial (“Complaint”) against Commonwealth Servicing Group, LLC (“CSG”)

and DMB Financial, LLC (“DMB”) (collectively CSG and DMB are the “Defendants”) to stop

their practice of making unsolicited prerecorded telemarketing calls to the telephones of

consumers nationwide and to obtain redress for all persons injured by their conduct. Plaintiff, for

his Complaint, alleges as follows upon personal knowledge as to himself and his own acts and

experiences, and, as to all other matters, upon information and belief, including investigation

conducted by his attorneys.

                                            PARTIES

       1.      Plaintiff Keith Hobbs is a natural person and resident of Columbus, Muscogee

County, Georgia.

       2.      Defendant Commonwealth Servicing Group, LLC is a limited liability company

organized and existing under the laws of the State of Massachusetts with its headquarters located

at 500 Cummings Center, Suite 3450, Beverly, Massachusetts 01915. Defendant conducts
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business throughout this District, the Commonwealth of Massachusetts, and the United States. It

is unclear at this time who the members are of CSG. Matthew Guthrie and Daniel Kwiatek are

both managers and both reside in Massachusetts.

       3.      Defendant DMB Financial, LLC is a limited liability company organized and

existing under the laws of the State of Massachusetts. Like its co-Defendant CSG, DMB’s

headquarters is located at 500 Cummings Center, Suite 3450, Beverly, Massachusetts 01915.

Defendant conducts business throughout this District, the Commonwealth of Massachusetts, and

the United States. Matthew Guthrie and Daniel Kwiatek are both managers and both reside in

Massachusetts.

                                 JURISDICTION AND VENUE

       4.      This Court has federal question subject matter jurisdiction under 28 U.S.C. §

1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. § 227, et

seq., which is a federal statute. The Court also has subject matter jurisdiction under the Class

Action Fairness Act, 28 U.S.C. § 1332(d), et seq. because the class consists of over 100 people,

at least one member of the class is from a State other than Massachusetts, and the amounts in

controversy are over $5,000,000. Further, none of the exceptions to CAFA jurisdiction apply. On

information and belief, the members of both Defendants reside in the Commonwealth of

Massachusetts.

       5.      The Court has personal jurisdiction over Defendants because they have ongoing

and continuous contacts with this District, are headquartered and reside in this District, solicit

significant consumer business in this District, have entered into contracts in this District, and the

unlawful conduct alleged in this Complaint occurred in, was directed to, and/or emanated from

this District. On information and belief, the members of both Defendants reside in this District.




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       6.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because

Defendants both reside in this District.

                           COMMON FACTUAL ALLEGATIONS

       7.      Defendant CSG is a debt settlement business. CSG claims that since it assists

consumers by negotiating lower payments on their outstanding debts.

       8.      Defendant DMB is a financial services company that also claims it assists

consumers in restructuring and reducing their existing debts.

       9.      Defendants share the same managing members—Matthew Guthrie and Daniel

Kwiatek—and are headquartered at the same address: 500 Cummings Center, Suite 3450,

Beverly, Massachusetts 01915.

       10.     On information and belief, Defendants work together to conduct a wide-scale

telemarketing scheme that features the placement of calls to consumers using the fictitious name

Commonwealth Law Group.

       11.     Unfortunately for consumers, Defendants cast their marketing net too wide. That

is, in an attempt to promote their businesses and to generate leads for their debt management

services, Defendants conducted (and continue to conduct) a national telemarketing campaign that

features the repeated making of unsolicited calls to consumers’ telephones, including cellular,

while utilizing an artificial or prerecorded voice without consent—all in violation of the

Telephone Consumer Protection Act, 47 U.S.C. § 227 (the “TCPA”).

       12.     Hence, in Defendants’ overzealous attempts to market their services, they placed

(and continue to place) prerecorded phone calls to consumers that never provided consent to be

called and to consumers with whom they have no prior relationship.

       13.     The TCPA was enacted to protect consumers from unsolicited telephone calls like




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those alleged in this case.

       14.     In response to Defendants’ unlawful conduct, Plaintiff files the instant lawsuit and

seeks injunctive and declaratory relief requiring Defendants to cease all unsolicited telephone

calling activities to consumers as complained of herein and an award of statutory damages to the

members of the Class under the TCPA, together with pre- and post-judgment interest, costs and

reasonable attorneys’ fees.

       15.     By making the telephone calls at issue in this Complaint, Defendants caused

Plaintiff and the members of the Class actual harm and cognizable legal injury. This includes

aggravation, nuisance, and invasions of privacy that result from the placement and receipt of

such unwanted calls, a loss of value realized for the monies consumers paid to their wireless

carriers for the receipt of such calls, and an interruption and loss of the use and enjoyment of

their telephones, including the related data, software, and hardware components, and wear and

tear on such components including the consumption of battery life, among other harms.

       16.     Defendants knowingly made (and continue to make) telemarketing calls without

the prior express consent of the call recipients.

       17.     As such, Defendants not only invaded the personal privacy of Plaintiff and

members of the putative Class, they also intentionally and repeatedly violated the TCPA.

                     FACTS SPECIFIC TO PLAINTIFF KEITH HOBBS

       18.     Plaintiff Hobbs is the primary and customary user of the telephone number ending

in 7558.

       19.     Beginning in or around April 2018, Plaintiff Hobbs received a series of

telemarketing calls, including prerecorded calls, from Defendants soliciting him to purchase their

debt reduction services.




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        20.     On information and belief, Defendants utilize Caller ID spoofing technology to

mask the identity of their originating telephone numbers.

        21.     Defendants acted jointly when making the calls. The calls were made for the

mutual benefit in accordance with their unlawful telemarketing scheme (that featured repeated

autodialed and pre-recorded message calls to consumers who never provided prior express

consent to receive them).

        22.     During one of the calls, Plaintiff Hobbs answered and heard the following

prerecorded statement: “Hello, this is Heather at Account Services, and we’re calling in

reference to your current credit card account. There’s no problems currently with your accounts.

It is urgent, however, that you contact us concerning your eligibility for lowering your interest

rates to as little as 6.9%. Your eligibility expires shortly so please consider this your final notice.

Please press 1 now on your phone to speak with a live operator and lower your interest rates . . .”

        23.     In response to the message, Plaintiff pressed 1 to speak with a representative. He

then heard the following prerecorded statement, “Thank you for calling Debt Services. If you do

not have more than ten thousand dollars in credit card debt, then press 7 now to be placed on our

do not call list. Otherwise, if you do have more than ten thousand dollars in credit card debt and

would like to speak with a debt specialist, press 4 now. Thank you.”

        24.     Following the second message, Plaintiff pressed 4 and spoke with an individual

who identified herself as “Sarah.”

        25.     Although he had never provided prior express consent to be called, Plaintiff

provided Defendants’ agent/employee with responses to her inquires regarding his current debts

to see if he was eligible for a reduction on his current credit card interest rates.

        26.     During the call, Plaintiff asked if he could receive information regarding the debt




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reduction services via email. Defendants’ agent/employee informed Plaintiff that they “don’t

send you any email information.”

       27.     Thereafter, Plaintiff was quickly transferred to another agent/employee of the

Defendants who identified himself as David Mahajan.

       28.     Following a conversation about the details of the debt reduction services, Plaintiff

again requested that Mr. Mahajan send him information via email. Mr. Mahajan also stated that

they don’t send information via email. Plaintiff then ended the call.

       29.     Subsequently, Mr. Mahajan sent Plaintiff a text message. The message reiterated

the plan that Defendants had offered Plaintiff over the telephone and then provided Plaintiff with

a direct link to the website, https://www.cwservicing.com/settlements/.

       30.     On information and belief, Defendants own and operate the website,

https://www.cwservicing.com/settlements/.

       31.     Plaintiff Hobbs does not have a current relationship with Defendants and has

never provided any form of prior express consent to Defendants.

       32.     By making the telephone calls at issue in this Complaint, Defendants caused

Plaintiff actual harm and cognizable legal injury. This includes the aggravation and nuisance and

invasions of privacy that result from the placement and receipt of such unwanted calls, a loss of

value realized for the monies consumers paid to his wireless carriers for the receipt of such calls,

and the interruption and loss of the use and enjoyment of his telephones, including the related

data, software, and hardware components, and wear and tear on such components including the

consumption of battery life, among other harms.

       33.     Defendants are and were aware that the above-described telephone calls are and

were being made to consumers like Plaintiff who had not consented to receive them.




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                                    CLASS ALLEGATIONS

       34.     In accordance with Fed. R. Civ. P. 23 Plaintiff Hobbs brings this action on behalf

of himself and a nationwide Class defined as follows:

       All persons in the United States who (1) from the date four years prior to the
       filing of this Complaint through the date notice is sent to the class members; (2)
       Defendants, or a third person acting on behalf of Defendants, called; (3) for the
       purpose of selling Defendants’ products and/or services, (4) using the same pre-
       recorded voice that was used to call the Plaintiff; and (5) for whom Defendants
       claim they obtained prior express consent in the same manner as Defendants
       claim they supposedly obtained prior express consent to call the Plaintiff.

The following people are excluded from the Class: (1) any Judge or Magistrate presiding over

this action and members of their families; (2) Defendants, Defendants’ subsidiaries, parents,

successors, predecessors, and any entity in which the Defendants or their parents have a

controlling interest and its current or former employees, officers and directors; (3) persons who

properly execute and file a timely request for exclusion from the Class; (4) persons whose claims

in this matter have been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s

counsel and Defendants’ counsel; and (6) the legal representatives, successors, and assigns

of any such excluded persons. Plaintiff anticipates the need to amend the class definition

following discovery into the scope of the class, the manner by which the Plaintiff supposedly

consented to receipt of the calls, the technology used to place the calls, and the identity of any

other persons who should be included as party defendants.

       35.     Numerosity: The exact size of the Class is unknown and not available to Plaintiff

at this time, but individual joinder is impracticable. On information and belief, Defendants made

telephone calls to thousands of consumers who fall into the definition of the Class. Members of

the Class can be identified through reference to objective criteria, including Defendants’ business

records, consumer phone records, and other objective evidence to be gained in discovery.




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       36.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the Class, and those questions predominate over any

questions that may affect individual members of the Class. Common questions for the Class

include, but are not necessarily limited to the following:

               (a)     Whether Defendants’ conduct violated the TCPA;

               (b)     Whether Defendants systematically made telephone calls to individuals

                       who did not previously provide Defendants and/or their agents with their

                       prior express consent to receive such phone calls;

               (c)     Whether Defendants made the calls with the use of an artificial and/or

                       prerecorded voice; and

               (d)     Whether Defendants’ acted willfully such that treble damages are

                       warranted.

       37.     Typicality: Plaintiff’s claims are typical of the claims of the other members of the

Class. Plaintiff is a member of the Class and, together with the other Class members, suffered

essentially identical harm and damages as a result of Defendants’ uniform wrongful conduct,

namely their repeated making of unlawful telemarketing calls.

       38.     Fair and Adequate Representation: Plaintiff will fairly and adequately

represent and protect the interests of the Class and has retained counsel competent and

experienced in complex class actions, including class actions under the TCPA for pre-recorded

voice calls and similar cases. Plaintiff has no interest antagonistic to those of the Class, and

Defendants have no defenses unique to Plaintiff.

       39.     Conduct Similar Towards All Class Members under Rule 23(b)(2): This class

action is appropriate for certification because Defendants have acted or refused to act on grounds




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generally applicable to the Class as a respective whole, thereby requiring the Court’s imposition

of uniform relief to ensure compatible standards of conduct toward the Class members and

making final injunctive relief appropriate with respect to the Class as a respective whole.

Defendants’ practices challenged herein apply to and affect the Class members uniformly, and

Plaintiff’s challenge of those practices hinges on Defendants’ conduct with respect to the Class

as a respective whole, not on facts or law applicable only to Plaintiff.

       40.     Superiority & Manageability under Rule 23(b)(3): This case is also appropriate

for class certification because class proceedings are superior to all other available methods for

the fair and efficient adjudication of this controversy given that joinder of all parties is

impracticable. The damages suffered by the individual members of the Class will likely be

relatively small, especially given the burden and expense of individual prosecution of the

complex litigation necessitated by Defendants’ actions. Thus, it would be virtually impossible for

the individual members of the Class to obtain effective relief from Defendants’ misconduct.

Even if members of the Class could sustain such individual litigation, it would still not be

preferable to a class action because individual litigation would increase the delay and expense to

all parties due to the complex legal and factual controversies presented in this Complaint. By

contrast, a class action presents far fewer management difficulties and provides the benefits of

single adjudication, economy of scale, and comprehensive supervision by a single court for each

of the Class. Economies of time, effort, and expense will be fostered and uniformity of decisions

ensured.

                                      CAUSE OF ACTION
                              Violation of 47 U.S.C. § 227(b), et seq.
                              (On behalf of Plaintiff and the Class)

       41.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.




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       42.     Defendants made unsolicited and unwanted pre-recorded telemarketing calls to

telephone numbers belonging to Plaintiff and the other members of the Class—without their

prior express written consent—in an effort to sell their products and services.

       43.     Defendants acted jointly in making the calls, and the calls were made with their

mutual knowledge and for their mutual benefit.

       44.     Under the TCPA, it is unlawful:

       to initiate any telephone call to any residential telephone line using an artificial
       or prerecorded voice to deliver a message without the prior express consent of the
       called party, unless the call is initiated for emergency purposes, is made solely
       pursuant to the collection of a debt owed to or guaranteed by the United States, or
       is exempted by rule or order by the Commission under paragraph (2)(B);

See 47 U.S.C. § 227(b)(1)(B). (emphasis added).

       45.     By making unsolicited telephone calls to Plaintiff and members of the Class’s

telephones using an artificial or pre-recorded voice without first obtaining prior express consent,

Defendants violated the TCPA.

       46.     As a result of Defendants’ unlawful conduct, Plaintiff and the members of the

Class suffered actual damages in the form of monies paid to receive the unsolicited telephone

calls on their cellular phones, lost data, and other damages, and, under Section 227(b)(3)(B) are

each entitled to, inter alia, a minimum of $500 in damages for each such violation of the TCPA.

       47.     Should the Court determine that Defendants’ conduct was willful and knowing,

the Court may, pursuant to Section 227(b)(3), treble the amount of statutory damages

recoverable by Plaintiff and the other members of the Class.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Keith Hobbs, individually and on behalf of the Class, prays for

the following relief:




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       1.      An order certifying the Class as defined above, appointing Plaintiff Hobbs as the

representative of the Class and appointing his counsel as Class Counsel;

       2.      A declaration that Defendants utilized an artificial or prerecorded voice to place

calls to Plaintiff and the Class without prior express consent;

       3.      An award of actual and statutory damages to be paid into a common fund for the

benefit of Plaintiff and the other Class Members;

       4.      Pre- and post-judgment interest as allowed by law;

       5.      An award of reasonable attorneys’ fees and costs to be paid out of the common

fund prayed for above; and

       6.      Such other and further relief that the Court deems reasonable and just.

                                         JURY DEMAND

       Plaintiff request a trial by jury of all claims that can be so tried.

                                       Respectfully Submitted,


                                               KEITH HOBBS, individually and on behalf of all
                                               others similarly situated,

Dated: March 5, 2019                           By: __/s/ J. Steven Foley____
                                               One of Plaintiff’s Attorneys

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                            Email: swoodrow@woodrowpeluso.com

                            *Motion for admission pro hac vice to be filed




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